
71 So. 3d 952 (2011)
Travis A. McKINNEY, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-0205.
District Court of Appeal of Florida, First District.
October 19, 2011.
Nancy A. Daniels, Public Defender, and Joel Arnold, Assistant Public Defender, Office of the Public Defender, Tallahassee; Daren L. Shippy, Assistant Regional Counsel, Office of Criminal Conflict and Civil Regional Counsel, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Ralph F. Guerra, Assistant Attorney General, Office of the Attorney General, Tallahassee, for Appellee.
Prior report: 39 So. 3d 530.
PER CURIAM.
Travis A. McKinney challenges the trial court's order revoking his community control and probation. We affirm the revocation but remand for entry of a written order conforming to the court's oral pronouncement. *953 See, e.g., Agar v. State, 833 So. 2d 881 (Fla. 1st DCA 2003).
DAVIS, PADOVANO, and ROWE, JJ., concur.
